                     Case 1:19-cr-00192-LO Document 14 Filed 06/20/19 Page 1 of 4 PageID# 63

          ^AO 245E (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
                         Sheet 1




                                                   United States District Court
                                                                           District of                                    Virginia
                   UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        V.                                          (For Organizational Defendaitts)

                            WMT Brasilia S.a.r.l.                                   CASE NUMBER: 1:19cr192

                                                                                    Karen Hewitt. Wliiiam G. Laxton, Jr.
                                                                                    Defendant Organization's Attorney
         THE DEFENDANT ORGANIZATION:
        ^ pleaded guilty to count(s) 1
         □ pleaded nolo contendere to cotint(s)
              which was accepted by the court.
         □ was found guilty on countCs)
             after a plea of not guilty.
        The organizational defendant is adjudicated guilty of these offenses:

        Title & Section                 Nature of Offensp.
                                                                                                                                                 Count
T5U.S.C
'(S)                                     Porelgn Corrupt Practices Act:^N-;:;;ic-^::^::l                            .'L i2/31/2010


                The defendant organization is sentenced as provided in pages 2 through                     6       ofthis judgment.
        □ The defendant organization has been found not guilty on count(s)
        □ Count(5)                                     □ is □ are disraissedon the motion of the United States.

        ofname
       are fiilly paid
       changes in economic circumstances,

       Defendant Organization's
       FederalEmployerlD.No.i       XX-XXXXXXX                                     6/20/2019
                                                                                  Date of Imposition of Judgment
       Defendant Otganization's Principal Business Address:
         46A J.F. Kennedy Avenue
         Luxembourg. Luxembourg L-1855                                              \. .               .
                                                                                  Signature of Judge


                                                                                   Hon. Liam O'Grady                             U.S. District Judge
                                                                                  Name of Judge                                 Title of Judge

                                                                                   6/20/2019
                                                                                 Date
       Defendant Organization's Mailing Address:

        46AJ.F. Kennedy Avenue
        Luxembourg, Luxembourg L-1855
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  AO 245E (Rev. 12/03)Judgment in a Criminal Case fiir Organizalional Defendants
                    Sheet 3—Criminal Monetary Penalties

  DEFENDANT ORGANIZATION: WMT Brasilia S.a.r.i.                                                          Judgment—Page          2                   6
  CASENUMBER: 1:19cr192
                                                     CRIMINAL MONETARY PENALTIES
             The defendant organization must pay the following total criminal monetary penalties under the schedule ofpayments on Sheet 4.
                                Assessment                                  Fine                               Restitution
  TOTALS                      $ 400.00
                                                                       $ 724.898.00                         s 0.00

  □ The determination of restitution is deferred until                             An Amended Judgment in a Criminal Case {AO "iASC) will be
         entered after such determination.


  ^ telow^^*'^' organization shall make restitution (including community restitution) to the following payees in the                amount listed




 Name of Pavee
                                                                     Total Loss*
                                                                                               .            Ordered          Priority or Percentage




                                                                                              i'                        j"
                                                                                              J!
                                                                                                                        r


  .vy.,:-.      -   -   - -




TOTALS                                                                                   Q.OO s                  0.00
□ Restitution amount ordered pursuant to plea agreement $

^                                                           resmtiou or a fine of more than $2,500. unless the restitution or fine is paid in full
                  ° w for
  be subject to penalties P delinquencyofand
                                          thedefault,
                                             judgment,   pursuant
                                                      pursuant to 18to U.S.C.
                                                                       18 U.S.C. § 3612(f). AU ofthe payment options on Sheet 4 may
                                                                              § 3612(g).
□ The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:
       □ the interest requirement is waived for the □ fme □ restitution.
       □ the interest requirement for the □ fine      □ restitution is modified as follows:


&|SSl3,'l9HlbybX°A^3?19a°^ mderChapBTS I09A, 110,1 lOA, ..d 113A ofTltte 18 fcr                                                 commllttd on or after
             Case 1:19-cr-00192-LO Document 14 Filed 06/20/19 Page 3 of 4 PageID# 65

AO 245E ^ev. 12/03)Judgment in a Criminal Case for Organoationai Defendants
           Sheet 3A—Criminal Monetary Penalties

DEFENDANT ORGANIZATION: WMT Brasilia S.a.r.i.                                 Judgment—Page   3   of   6
CASE NUMBER: 1:19cr192

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 See paragraphs 11,19(a)-(d)of the Plea Agreement
                 Case 1:19-cr-00192-LO Document 14 Filed 06/20/19 Page 4 of 4 PageID# 66

  AO 24SE gev 12/03)Judpnent in a Criminal Case for Organizationai Defendanls
              Sheet 4—Schedule ofPayments


     DEFENDANT ORGANIZATION; WMT Brasilia S.a.r.l.                                                        Judgment—Page              of
     CASE NUMBER: 1:19cr192


                                                      SCHEDULE OFPAYMENTS
   Having assessed the organization's abiUty to pay, payment ofthe total criminal monetary penalties at« due as follows;
   A 1/ Lump sum payment of$ 725.298.00 due immediately, balance due
            ^ not later than                 7/5/2019              >or
             □ in accordance with □ Cor              □ D below; or
  B □ Payment to begin immediately (may be combined with nCor QD below); or
  C     □ Payment in                      (e.g., equal, weekly, monthly, quarterly) installments of $
                           (e.g., months or years), to commence                                                        .over a period of
                                                                                (e.g., 30 or 60 days) after the date of this judgment; or
  D □ Special instructions regarding the payment ofcriminal monetary penalties




 All criminal monetaiy penalties are made to the clerk of the court.
 H.. defemtant                .h.11         credit for .11 peymea. prevtal, ^




 D    Joint and Several

      Defendant and Co-
      S?Sita?p.^f                                                                                                Jotol end Se™™l Amount,    and




D The defendant organization shall pay the cost of prosecution.
□ The defendant organization shall pay the following court cost(s)
BT The defendant organization shall forfeit the defendant organization's interest in the following property to the United States:
      $3,624,490 U.S. currency
